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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


  RICHARD GLOSSIP, et al.,

                                     Plaintiffs,

  v.                                                              No:      14-cv-665-F


  RANDY CHANDLER, et al.,

                                     Defendants.


                         DEFENDANTS’ RESPONSE TO
                   PLAINTIFF WADE LAY’S RULE 60(B) MOTION

       The Rule 60 motion filed by Plaintiffs’ counsel fails to address defects raised both by

Defendants and by Mr. Lay himself in this Court’s appointment of a next friend. The Court’s

order appointing a next friend solely cited Mr. Lay’s agreement to the appointment as a basis

for the propriety of the appointment, avoiding issues with the competency evidence largely on

that basis. See Doc. 519. Mr. Lay has subsequently said, as Defendants noted at the time, that

his agreement was conditioned on him having an evidentiary hearing. Doc. 565 at 1-2. Taking

further action based on that appointment would only compound the mistake.

       The Court can avoid further efforts at interpreting Mr. Lay’s intent by awaiting the

results of the trial in state court, which will be dispositive of any relief Plaintiffs’ counsel seeks

here. While Plaintiffs’ counsel argue the standards are nominally different between here and

state court, Doc. 566 at 3, the only evidence they have of incompetency in state court is the

evidence they attached here. A state court finding that Mr. Lay is competent after reviewing
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that same evidence would be strong support that the Court should deny the Rule 60 motion

here. In contrast, a state court finding that Mr. Lay is incompetent would render him ineligible

for execution pending treatment and make the claims regarding his method of execution

unripe. The issue of any errors in the appointment in Doc. 519 would be mooted.

       The timing is candidly the only issue. The State’s writ regarding the competency trial is

pending a response brief due on February 5, and the trial court also is unable to hold a trial

until May at the earliest even if the writ were denied. Defendants recognize that this timing

places Mr. Lay’s competency trial after the trial in this matter, which this Court may not want.

       Defendants believe denial without prejudice of the Rule 60 motion is the best approach

to await the results of the state court trial or the writ, which will determine the best course

forward here. Defendants raise this issue in a response brief rather than a motion for further

extension in recognition of the Court’s concern about leaving a motion pending for such an

indefinite period.

                                                     Respectfully submitted,

                                                     s/ Mithun Mansinghani
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